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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   SANOFI-AVENTIS U.S., LLC,

                       Plaintiff,
                                                            Civil Action No. 21-00634 (FLW)
   v.
                                                          ORDER DENYING EMERGENCY
   U.S. DEPARTMENT OF HEALTH AND                            ADMINISTRATIVE STAY
   HUMAN SERVICES, et. al.,

                      Defendants.


        THIS MATTER having been opened to the Court by Plaintiff Sanofi-Aventis, U.S., LLC,

 on an emergency motion to administratively stay, pending disposition of the parties’ summary

 judgment motions, ECF Nos. 62, 68, Sanofi’s “obligation under the Administrative Dispute

 Resolution (‘ADR’) Rule,” ECF No. 101, at 1, in connection with an ADR petition filed by the

 National Association of Community Health Centers’ (“NACHC”) against Sanofi in the

 Department of Health and Human Services on August 31, 2021, which was then assigned to an

 ADR panel on October 5, 2021, ECF No. 101, at 4-5; it appearing that the Government opposes

 the motion, ECF No. 103; it appearing that the Court will render its decision on the pending

 summary judgment motions in this matter on or before November 5, 2021; it appearing that on

 November 5, 2021, Sanofi must file a response to NACHC’s arbitration petition, and that Sanofi

 may request that the panel, to the extent permitted under the applicable regulations, stay the

 arbitration proceeding in light of this Court’s timeline; it appearing that the Court having reviewed

 the parties’ submissions in connection with the motion pursuant to Fed. R. Civ. P. 78, for the

 reasons set forth herein, and for good cause shown;
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        IT IS on this 14th day of October, 2021,

        ORDERED that Sanofi’s “Motion for an Emergency Motion for a Stay Pending

        Resolution of the Dispositive Motions and for an Immediate Interim Stay” is DENIED.




                                                                /s/ Freda L. Wolfson
                                                                Hon. Freda L. Wolfson
                                                                U.S. Chief District Judge
